                                               United States Bankruptcy Court
                                                    District of Arizona
In re:                                                                                                     Case No. 19-09891-DPC
MICHAEL KENNETH BOWMAN                                                                                     Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: mccormij                     Page 1 of 2                          Date Rcvd: Sep 06, 2019
                                      Form ID: vanodc                    Total Noticed: 25


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 08, 2019.
db             +MICHAEL KENNETH BOWMAN,    16450 W. VAN BUREN STREET,    APT. 2023,    GOODYEAR, AZ 85338-1610
15704123       +Arrowhead Collections, Inc.,    4150 W Peoria Ave,    Ste 222,    Phoenix AZ 85029-3956
15704124       +Bureau Of Medical Economics,    Attn: Bankruptcy,   Po Box 20247,     Phoenix AZ 85036-0247
15704127       +Cba Collection Bureau,    Attn: Bankruptcy,   Po Box 5013,     Hayward CA 94540-5013
15704131        Flagship Credit Acceptance LLC,    PO Box 9756658,    Dallas TX 75397-5668
15704134       +NCCSCCO,   PO Box 900006,    Raleigh NC 27675-9006
15718822       +Pinnacle Service Solutions LLC,    4408 Milestrip Rd #247,     Blasdell, NY 14219-2553
15704135       +RSH & Associates, Llc,    Attn: Bankruptcy,   Po Box 14515,     Lenexa KS 66285-4515
15704136       +Ryan Rapp & Underwoood,    3200 North Central Avenue,    Ste 2250,    Phoenix AZ 85012-2346
15704137       +Safcu Fcu,   2440 W Osborn Rd,    Phoenix AZ 85015-5656
15704138       +Santander Consumer USA,    Attn: Bankruptcy,   10-64-38-Fd7     601 Penn St,
                 Reading PA 19601-3544

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: AZDEPREV.COM Sep 07 2019 04:38:00      AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
cr             +EDI: AISACG.COM Sep 07 2019 04:48:00      Capital One Auto Finance, a division of Capital On,
                 4515 N Santa Fe Ave. Dept. APS,    Oklahoma City, OK 73118-7901
15704122       +EDI: AZDEPREV.COM Sep 07 2019 04:38:00      Arizona Department of Revenue,    P.O. Box 52016,
                 Phoenix AZ 85072-2016
15711414       +E-mail/Text: collections@canyonstatecu.org Sep 07 2019 01:11:52       Canyon State Credit Uion,
                 3440 W. Deer Valley Rd,    Phoenix, AZ 85027-2258
15704125       +E-mail/Text: collections@canyonstatecu.org Sep 07 2019 01:11:52       Canyon State Credit Un,
                 Attn: Bankruptcy,   3440 W Deer Valley Rd,    Phoenix AZ 85027-2258
15704126       +E-mail/Text: collections@canyonstatecu.org Sep 07 2019 01:11:52       Canyon State Credit Un,
                 2440 W Osborn Rd,   Phoenix AZ 85015-5656
15711427       +E-mail/Text: collections@canyonstatecu.org Sep 07 2019 01:11:52       Canyon State Credit Union,
                 3440 W. Deer Valley Rd,    Phoenix, AZ 85027-2258
15704128       +E-mail/Text: tiffany@commercialtrade.com Sep 07 2019 01:12:13       Commercial Trade Burea,
                 Attn: Bankruptcy,   Po Box 10389,    Bakersfield CA 93389-0389
15704129       +EDI: CONVERGENT.COM Sep 07 2019 04:48:00      Convergent Outsourcing, Inc.,    Attn: Bankruptcy,
                 Po Box 9004,   Renton WA 98057-9004
15704130       +E-mail/Text: bankruptcy@flagshipcredit.com Sep 07 2019 01:11:42       Flagship Credit Acceptance,
                 Po Box 965,   Chadds Ford PA 19317-0643
15704132       +E-mail/Text: bknotice@healthcareinc.com Sep 07 2019 01:12:08       Healthcare Collections, Llc,
                 Attn: Bankruptcy Dept,     Po Box 82910,   Phoenix AZ 85071-2910
15704133        EDI: IRS.COM Sep 07 2019 04:48:00      IRS,   Central Insolvency Operations,    PO Box 7346,
                 Philadelphia PA 19101-7346
15714182        EDI: RESURGENT.COM Sep 07 2019 04:48:00      LVNV Funding, LLC,    Resurgent Capital Services,
                 PO Box 10587,   Greenville, SC 29603-0587
15704139        EDI: USBANKARS.COM Sep 07 2019 04:48:00      US Bank/RMS CC,    Attn: Bankruptcy,   Po Box 5229,
                 Cincinnati OH 45201
                                                                                              TOTAL: 14

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 08, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING




        Case 2:19-bk-09891-DPC Doc 22 Filed 09/06/19 Entered 09/08/19 21:46:30                                                Desc
                             Imaged Certificate of Notice Page 1 of 4
District/off: 0970-2         User: mccormij               Page 2 of 2                  Date Rcvd: Sep 06, 2019
                             Form ID: vanodc              Total Noticed: 25


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 6, 2019 at the address(es) listed below:
              DINA ANDERSON    DAnderson@DLATrustee.com,lbailey@DLATrustee.com,dlanderson@ecf.epiqsystems.com,
               dla@trustesolutions.net,tkirn@dlatrustee.com
              THOMAS ADAMS MCAVITY   on behalf of Debtor MICHAEL KENNETH BOWMAN tom@nwrelief.com,
               melissa@nwrelief.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3




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                           Imaged Certificate of Notice Page 2 of 4
FORM van−odc
REVISED 08/01/2018



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                          Case No.: 2:19−bk−09891−DPC

    MICHAEL KENNETH BOWMAN                                      Chapter: 7
    16450 W. VAN BUREN STREET
    APT. 2023
    GOODYEAR, AZ 85338
    SSAN: xxx−xx−1760
    EIN:

Debtor(s)

                                               ORDER DISMISSING CASE

         The debtor(s) having failed to file a list of creditors in the proper format as required by Local Bankruptcy Rule
         1007−1.
         The individual debtor(s) having failed to file a Credit Counseling Certificate as required by Fed. R. Bankr. P.
         1007(b)(3).
         The debtor(s) having failed to pay the filing fee as ordered by the court.
         The debtor(s) having failed to timely file the schedules and statements required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to timely file a Chapter 13 plan as required by Fed. R. Bankr. P. 3015.
         The debtor(s) having failed to timely submit the Statement of Social Security Number as required by Fed. R.
         Bankr. P. 1007(f).
         The individual debtors having failed to file a Statement of Your Current Monthly Income and any additional
         forms as required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to file a Declaration of Evidence of Employer's Payments as required by Local
         Bankruptcy Rule 1007−1.
         The debtor(s) having failed to file a Declaration Under Penalty of Perjury for Debtors Without an Attorney as
         required by Local Bankruptcy Rule 1007−1.
         The debtor(s) having failed to appear and be examined at the meeting of creditors as required by 11 U.S.C. §
         341.
         After an Order to Show Cause why this case should not be dismissed was issued.
         The trustee having moved to dismiss this case.
         The debtor(s) having moved to dismiss this case.
         The debtor(s) having failed to timely file all required Official Forms as indicated by the court.




                                             −− Order continued on 2nd page −−




    Case 2:19-bk-09891-DPC Doc 22 Filed 09/06/19 Entered 09/08/19 21:46:30                                       Desc
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   IT IS ORDERED that the above−captioned case be dismissed. Jurisdiction is retained over any matters arising
under 11 U.S.C. § 110.

   IT IS FURTHER ORDERED that any pending hearings, including any final hearing set on a motion for relief from
the automatic stay are vacated.
    IT IS FURTHER ORDERED that if the debtor wishes to reinstate this case, a motion for reinstatement must be
filed setting forth the reasons for the request.

   IT IS FURTHER ORDERED that even though this case has been dismissed, debtor(s) is/are required to pay all
outstanding fees due and owing to the court.

   IT IS FURTHER ORDERED that the Court shall not consider a motion for reinstatement of the case unless all fees
are paid in full or all required documents are filed. To have the case reinstated in an individual debtor chapter 7 or 13
case, all documents required by 11 U.S.C. § 521(a)(1) must be filed no later than 45 days from the date the bankruptcy
was filed.

   NOTICE IS ALSO GIVEN that the order was entered on the docket this date.


Date: September 6, 2019                                     BY THE COURT



Address of the Bankruptcy Clerk's Office:                   HONORABLE Daniel P. Collins
U.S. Bankruptcy Court, Arizona                              United States Bankruptcy Judge
230 North First Avenue, Suite 101
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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